803 F.2d 721
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.GLORIA M. MYATT, Plaintiff-Appellantv.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 85-1801.
    United States Court of Appeals, Sixth Circuit.
    Sept. 26, 1986.
    
      Before:  KENNEDY and MARTIN, Circuit Judges;  and PECK, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Gloria M. Myatt appeals from the judgment of the District Court affirming the Secretary of Health and Human Services' denial of her claim for disability benefits.
    
    
      2
      Upon consideration of the entire record and the briefs filed herein, we affirm the judgment of the District Court for the reasons stated by Judge Cook in his Order and Judgment filed September 16, 1985.
    
    